              Case 4:17-cr-00293-BSM Document 2495 Filed 07/06/22 Page 1 of 1


                                                                                                      FILED
                                                                                                    U.S. DISTRICT COURT
                                               NINOIIANDUN                                      EASTERN DISTRICT ARKANSAS

                                                                                                       JUL O6 2022

DATE:                                       7/6/2022
                                                                                           By~AMMY     H~         CLERK
                                                                                                         _.          DEPCLERK
TO:                                Criminal Docket Clerk

FROM:                              Cody Harvey
                                   Investigative Analyst
                                   U.S. Marshals Service

RE:                                Defendant in custody of U.S. Marshals Service



Date: _ _ _ _             Defendant taken into U.S. Marshal Service custody on a detainer from:


Date: 07-05-2022          Defendant in U.S. Marshal Service custody on an ASR-P/WHCAP from:
                           FCI La Tuna


Date: _ _ _ _             Defendant taken into U.S. Marshal Service custody on a Warrant of
                          Removal.


Date: _ _ _ _             Defendant taken into U.S. Marshal Service custody on a Return Psychiatric
                          Study.


Date: _ _ _ _             Defendant returned to custody of _ _ _ _ _ _ _ _ __
                                                                  (State)

Date:                     Defendant returned to custody of _ _ _ _ _ _ _ _ __
        ----                                                  (Another District)




CASE NUMBER:                                      4: 17CR00293
                     R___o.....,s.....
DEFENDANT'S NAME: ____           s,....R
                                       __aii i,iolp._.............
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